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UNlTED STATES OF AN|ER|CA
P|aintiff

VS.
CR. NO. 05-20086-[)

JUAN L. CHAVEZ

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause was set for a Change of P|ea hearing on June 22, 2005. Counse| forthe
defendant filed a motion for continuance of the change of plea hearing date to allow
counsel additional time to review a proposed plea agreement

The Court granted the motion and reset the trial date to August 1, 2005 with a

Change of P|ea hearing date of Thursday, Ju|y 21, 2005, at 10:00 a.m., in Courtroom
3 9th F|oor of the Federa| Bui|ding, Memphis, TN.

 

The period from Ju|y 15, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends of justice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

lT is so oRDERED this.$’o day of June, 2005.

 

`i'trie document entered on the docket sheet in compliance

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Notice of Distribution

This notice confirms a copy cf the document docketed as number 22 in
case 2:05-CR-20086 Was distributed by faX, mail, or direct printing on
July ], 2005 to the parties listed.

 

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Honcrable Bernice Donald
US DISTRICT COURT

